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                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION

MICHAEL HESTER, on Behalf of Himself and
All Others Similarly Situated                                                    PLAINTIFF


v.                              CASE NO. 5:18-CV-5225

WALMART, INC.                                                                 DEFENDANT


                      PHASE ONE CASE MANAGEMENT ORDER

       Pursuant to Rule 16(b) of the Federal Rules of Civil Procedure, IT IS HEREBY

ORDERED:

1.     DISCOVERY

       Discovery in this case will be bifurcated. The first phase of discovery will be limited

to issues relevant to a possible Plaintiff’s motion for Rule 23 class certification. The

deadline for completion of phase one discovery is JANUARY 6, 2020.

       Prior to filing a discovery motion, the parties must (i) engage in a substantive good

faith effort to amicably resolve the dispute without court intervention (to include at least

one verbal discussion), and then, if necessary, (ii) the parties must schedule a conference

call with the Court to discuss the dispute. In the event a discovery dispute cannot be

informally resolved by the Court, then a formal motion must be filed sufficiently in advance

of the discovery deadline to allow for a proper response time under the rules. The length

of any such motions and supporting memorandum shall not exceed ten (10) pages in

length (excluding exhibits). A response to a discovery motion, with the same page

limitations, should be promptly filed.
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2.    MOTION FOR RULE 23 CLASS CERTIFICATION

      Plaintiff’s motion to certify a Rule 23 class must be filed no later than JANUARY

27, 2020.

      Defendant’s response will be due on MARCH 16, 2020.

      The reply will be due on MAY 4, 2020. 1

      A hearing on the class certification motion will occur on May 27, 2020. If the parties

do not desire a hearing on the motion, they should inform the Court as soon as possible.

      Agreed exhibit and witness lists, and deposition designations pertinent to the

issues to be presented at the hearing are to be submitted to the Court no later than May

17, 2020.

      The parties are instructed to contact the Court no later than May 15, 2020, if they

determine a pre-hearing conference is necessary and should be set.

      If a motion for Rule 23 class certification is granted, the lawsuit will then proceed

to phase two of discovery, which will concern the merits of the case. A Phase Two Case

Management Order will issue at that time, setting forth a trial date and other relevant

deadlines.

3.    CLASS EXPERT WITNESS DISCLOSURES

      Plaintiff’s deadline to provide class expert witness disclosures and written reports

is JANUARY 27, 2020. Defendant’s deadline to provide disclosures and reports of




1 All briefing deadlines have been extended so as to contemplate the parties’ need for

extra time to respond to the motions. Accordingly, the Court does not intend to grant any
extensions of time, absent special or emergency circumstances.
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rebuttal experts (i.e. whose testimony will be offered solely to contradict or rebut the

expert opinions offered by an opposing expert) is MARCH 19, 2020. 1

4.     SETTLEMENT CONFERENCE

       The parties are not ordered to attend a settlement conference at this time, but if

they feel that a settlement conference would assist in bringing resolution to the case, they

may    contact   Chief   Magistrate    Judge    Erin   L.   Wiedemann’s     chambers,     at

elwinfo@arwd.uscourts.gov, and she will set a conference by separate order.

5.     COMMUNICATION WITH COURT REGARDING SETTLEMENT

       Please communicate any settlement or late-developing issues to the Courtroom

Deputy, Sheri Craig, at (479) 695-4460 or tlbinfo@arwd.uscourts.gov. In the event of

settlement, advise Ms. Craig immediately.

       IT IS SO ORDERED on this 6th day of August, 2019.


                                                 ___/s/ Timothy L. Brooks____________
                                                 TIMOTHY L. BROOKS
                                                 UNITED STATES DISTRICT JUDGE




2 Although the parties have included deadlines by which to depose the parties’ class

experts, those deadlines represent informal agreements between the parties and will not
be included in this case management order. The parties are directed to work with each
other to ensure that the necessary depositions are taken sufficiently in advance of any of
the formal deadlines noted herein.
